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Ali Arab, Ph.D.
Contact Information
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     Department of Mathematics & Statistics                        Cell Phone: (573) 441-8846
     Georgetown University                                         E-mail: ali.arab@georgetown.edu
     Washington, DC 20057                                          Homepage: www.aliarab.com

Areas of Expertise
      • Analysis of complex statistical data, audit sampling, survey design and sampling, statisti-
        cal modeling, Bayesian inference, predictive modeling, spatial statistics, time series, spatio-
        temporal analysis, risk and reliability analysis, and modeling complex count data; Applications
        in ecology, environmental science, social sciences, human rights, finance, economy, epidemiology,
        and medical research, forced migration (in particular, climate-driven forced migration).
      • Non-profit organizational leadership, strategic planning and conflict resolution. Non-profit
        finance and budget planning, program evaluation and impact assessment, risk assessment.
      • Human rights advocacy and strategic planning. Campaign management and capacity building.
        Quantitative tools and Impact assessment for human rights projects.

Academic Appointments
     Georgetown University, Washington, DC
     Department of Mathematics & Statistics, and the Environmental Initiative
      • Director of Graduate Studies July 1, 2021-Present
      • Associate Professor of Statistics, August 1, 2014-Present
      • Assistant Professor of Statistics, August 1, 2007-July 31, 2014


Education
      • Ph.D. Statistics: University of Missouri, Columbia, Missouri (August 2007)
      • M.S., Mathematics and Statistics Southern Illinois University (May 2002)
      • B.S., Applied Mathematics Iran University of Science and Technology (February 1999)


Non-Profit Board Experience
     Amnesty International USA, New York, NY
     Member of the Board of Directors (2016-Present)
     • Deputy Treasurer, 2017-2018 & 2019-Present
     • Treasurer, 2018-2019

     Journalism for Change, Washington, DC
     Member of the Board of Directors (2020-Present)

     Hostage Aid Worldwide, Washington, DC
     Co-Founder & Member of the Board of Directors (2020-Present)
      • Treasurer, 2020-Present


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Consulting Experience
     Consulting experience and skills include:
      • Statistical analysis and modeling for complex data,
      • Predictive modeling,
      • Time series analysis and forecasting,
      • Spatial and spatio-temporal analysis,
      • Bayesian hierarchical modeling,
      • Sampling methodology,
      • Analysis of survey data,
      • Survey and questionnaire design,
      • Calibration methodology for changes in survey design and methods,
      • Modeling count data with complex structures (e.g., temporal and/or spatial dependence, zero-
        inflation, imperfect detection, and censored, truncated and biased observations).
      • Sample size and power assessment,
      • Presentation: oral and poster presentations, legal deposition, expert witness testimony (testified
        on a case in the Court of Federal Claims, October 2012).
      • Reporting: Data visualization, grant proposals and final report preparation.

     Recent clients/projects include:
      • Defense Contract Audit Agency (DCAA) statistical auditing consultant (2019-Present)
      • IPERIA review of audit sampling methodology and results, Lani Eko & Company, CPAs LLC
        (2014-Present)
      • Survey sampling design for an international survey conducted by the American Association for
        the Advancement of Science (AAAS) Science and Human Rights Coalition (2015-Present)
      • Calibration methodology for changes in survey methods, peer review panelist for Marine Recre-
        ational Information Program-National Oceanic and Atmospheric Administration (NOAA) Of-
        fice of Science and Technology, Center for Independent Experts (CIE), administered by North-
        ern Taiga Ventures, Inc. (NTVI) (2017)
      • Statistical methodology for e-Discovery software, One Discovery/Driven (2016)
      • Analysis of survey data for a pilot study conducted by the AAAS Science and Human Rights
        Coalition (2014-2015)
      • Statistical modeling of satellite data for snow coverage, UMD ESSIC (2015-present)
      • Spatial analysis and advanced statistical modeling for a long term seabird abundance monitoring
        program for the Prince William Sound Science Center (2014- 2018)
      • Expert Witness for the United States Department of Justice including analysis, reporting,
        deposition, and testimony (April 2012-May 2013)
      • Statistical modeling for urban canopy survey data, Casey Trees, a DC based non-profit urban
        ecology organization (2010-2012)
      • Statistical modeling for ecological data, U.S. Geological Survey, Patuxent Widlife Research
        Center, Beltsville, MD (2010 -Present)
      • Statistical modeling for fish survey data, U.S. Geological Survey, Columbia Environmental
        Research Center, Columbia, MO (2005-2015)
      • Survival analysis, statistical modeling, and survey analysis, Department of Transplant Surgery,
        Georgetown University Hospital (2009- 2013)

Advisory Roles
      • Member of the Advisory Committee for survey sampling design & analysis for the American
        Association for the Advancement of Science (AAAS) Science and Human Rights Coalition


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        (2015-Present)
      • Member of the Data and Safety Monitoring Board for the RAND Corporation’s “Reducing
        Inappropriate Prescription Opioid Prescribing at Hospital Discharge”. (2020-Present)
      • Member of Georgetown University’s Research Integrity Committee (2017-Present)
      • Member of the Advisory Committee on the use of data, data science and artificial intelligence
        in building a predictive tool for tracking hostage taking cases including the complex networks
        of hostage takers and the associated value chain of the hostage taking “business model” for the
        Hostage Aid Worldwide. (2020-Present)


Teaching Experience
      • Undergraduate Courses: Statistics with Exploratory Data Analysis; Statistics & Probability,
        Mathematical Statistics; Applied Statistical Methods; Applied Time Series Analysis, Business
        Forecasting, Statistical Models for Business, Business Statistics.
      • Graduate Courses: Mathematical Statistics; Regression Methods/Generalized Linear Models;
        Bayesian Statistics; Time Series Analysis; Statistical Consulting Practicum.

Publications, Conference Presentations, & Panel Discussions
     See the complete list here.
      • Moderated a panel on international conventions, acts and declarations related to arbitrary
        detentions and hostage taking globally including the UN Convention on Hostage Taking, the
        Magnitsky Act, the Levinson Act, and the recent declaration against arbitrary detentions lead
        by Canada and more than 50 countries. The panel discussion was part of the launch event for
        the organization Hostage Aid Worldwide (HAW). Panelists include the former Special Pres-
        idential Envoy for Hostage Affairs (SPEHA) James O’Brien (2015-2017), Sarah (Levinson)
        Moriarty, the daughter of Robert Levinson, a former hostage in Iran, as well as internationally
        renowned legal experts, Dr. Carla Ferstman, and Dr. Tatyana Eatwell. See Youtube recording
        of the event, minutes 26:15- 1:00:07 for the panel on international conventions). March 4, 2021.

      • Singh, L., Donato, K., Ali Arab, A., Belon, T.A., Fraifeld, A., Fulmer, S., Post, D., and Y.
        Wang (2020). Identifying Meaningful Indirect Indicators of Migration for Different Conflicts.
        Pre-print available.

      • Reclaiming Impact in the Age of Awareness-raising for Human Rights. Pourzand A. and A.
        Arab, Contributed Presentation, Conference on the Social Practice of Human Rights, Univer-
        sity of Dayton, October 2019.

      • Arab A., Hooten M. B. and C. K. Wikle (2017). Hierarchical Spatial Models. In Encyclopedia
        of Geographical Information Science, Second Edition. Editors: Shashi Shekhar, Hui Xiong and
        Xun Zhou). Springer: New York.

      • “Climate Change and Human Rights”, September 12, 2016, An invited blog entry for GU
        Global Futures Initiative for Environment.

      • Arab, A. (2016). Spatio-Temporal Trends in Mass Shooting Incidents in the United States, In
        JSM Proceedings, Social Statistics Section. Alexandria, VA: American Statistical Association.

      • Arab A. (2016). Iran’s Lack of Transparency and Accountability and its Underdeveloped Data
        & Statistics Infrastructure. Iran Human Rights Review. Published online.



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Media
        • Iran International TV (in Farsi) on conditions of arbitrarily detained Sharif University students
          Ali Younesi and AmirHossein Moradi, April 11, 2021.
        • Manoto TV, Late News interview (in Farsi) with Pouria Zeraati on the conditions of human
          rights in Iran, January 1, 2021.
        • Iran-e Farda TV, interview (in Farsi) with Mahboobeh Moradi on the conditions of human
          rights in Iran, October 28, 2020.
        • Andisheh TV, interview (in Farsi) with Reza Goharzad on the conditions of human rights in
          Iran, July 12, 2020.
        • AAAS “Statisticians’ Response to COVID 19”, July 2020.
        • BBC Persian, 60 Minutes, interview (in Farsi) with Jamal Mousavi on the status of imprisoned
          students in Iran, May 4, 2020.
        • Podcast on “Migration and Resilience to Climate Change” for Georgetown University’s Design-
          ing the Future(s) Initiative Core Pathways program, Spring 2018.
        • IranWire, interview with Aida Ghajar: “Economic Despair Behind Iran’s Protests”, January
          2018.
        • “Climate Change and Human Rights”, September 12, 2016, An invited blog entry for GU
          Global Futures Initiative for Environment.
        • “Plugging Iran’s Brain Drain” co-authored with Elise Auerbach and Jeffrey Toney. Huffington
          Post. November 4, 2014.
        • “Has a New Era of Academic Warfare Arrived?” co-authored with Jeffery Toney. Huffington
          Post, June 12, 2013. The article discusses the impacts of academic sanctions and boycotts. In
          particular, the authors examine the adverse effects of boycotts of Israeli scientists and scholars,
          as well as the indirect impacts of sanctions on Iranian scholars and students. The authors
          discuss the academic boycotts and sanctions in light of the principles of science and human
          rights as described in the Article 15 of the International Covenant on Economic, Social and
          Cultural Rights (ICESCR).
        • Report on ASA-AAAS focus group on human rights and statistics. Amstat News, November
          2012.
        • “Are U.S. Iranian Sanctions Self-Defeating?” co-authored with Natasha Bahrami and Jeffery
          Toney. Huffington Post, July 26, 2012. The article discusses the negative by-products of the
          economic sanctions of Iran on information exchange and scientific activities.
        • Interviewed by the Associated Press on the probabilities related to winning the MegaMillion
          lottery; Broadcasted by the National Public Radio (NPR). March 30, 2012.
        • Featured in “Meet ENVR Members” American Statistical Association’s Section on Statistics
          & the Environment (ENVR) Newsletter, Summer 2012.
        • Research profile featured in “Modeling the Environment” Georgetown College Newsletter, March
          1, 2012.




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